Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 1 of 8




                        Exhibit B




                               -21-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 2 of 8




             e.ngineers
             planners.
             economists
             scientists

            March 1979

      M468.32




      Mr. Stephen Ryan
      Pacific Wood Preserving
       Corporation
      P.O. Box 128
      Elmira, California 95625

      Dear Mr. Ryan:

      Subject:            Proposal for Engineering Services
                          Storm Water and Industrial Wastewater Control

      CH2M HILL is pleased to provide this proposal for engineering services
      to assist you in complying with the Regional Water Quality Control Board’s
      waste discharge requirements. We appreciate the time that you took to
      brief us on the current conditions at Pacific Wood Preserving’s premises.
      Since that meeting we have visited the Regional Board’s office in Sacramento,
      and have spoken with ~r. Greg Vaughn, who provided additional data
      on the situation at your plant.

      Our proposal for engine,.~.ring services deals with control of both storm
      water runoff and process water. Storm water runoff ~,s the most serious
      concern. We suggest that the time-phased program described herein be
      undertaken, in it, the necessary work is broken into logical steps. Yet,
      there is flexibility to allow a change in direction if the preliminary investigations
      uncover opportunities worth following.

      We have divided the project into four phases:

                                  A,        Data Collection and Evaluation
                                  B.        Problem Definition

               Phase II           Ao       Site Modification Analysis
                                           Treatabi lity Analysis
                                           Selection of Technical Solution

               Phase Iil          A.        Design of Control System

               Phase IV           A.        Construction of Control System

                                  B.        Start Up, Operation and Monitoring

      The description of the work to be performed in each phase and the proposed
      project schedule follows:



      555        Mail, Sacramento, California 95814




                                                      DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                                    DTSC029282
                                                      -22-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 3 of 8




      Pacific Wood
      Page 2
      16 March 1979
      M468.32




      Phase I

            DATA COLLECTION AND EVALUATION

      This portion of the project covers collection and evaluation of existing
      information on wastewater characteristics.

      Specific work items to be performed are:

                    Review Pacific Wood Preserving records and reports on:

                           m      Well water quality
                           ¯      Water usage
                           ¯      Soil characteristics
                           lm     Plant chemical usage
                           ¯      Storm water runoff quality
                           ¯      Process wastewater quality
                           ¯      Wastewater treatabi lity
                                  Chemical delivery and storage techniques

                    Sampling of site soil and process wastewater and engineering
                    analysis of:

                                  Concentrations of pollutants in process wastewater

                                  Concentration of pollutants in soil

                                  Rainfall patterns to determine runoff storage
                                  requirements and concentrations of pollutants
                                  in runoff

                     Meet with:

                                  Regional Water Quality Control Board to verify
                                  waste control requirements

                PROBLEM DEFINITION

      From the investigation and evaluations performed in A above, the specific
      causes of the pollution problem will be determined and the extent of surface
      and ground water pollution will be quantified.

      This portion of the project will result in:

                     Clear understanding of the Regional Water Quality Control
                     Board’s waste discharge requirements




                                          DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                        DTSC029283
                                           -23-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 4 of 8




      Pacific Wood
      Page 3
      16 March 1979
      M~68.32




                   Quantitative definition of surface and ground water pollution
                   problem from the storm water runoff and process wastewater
                   generated on site

      Phase I I

             SITE MODIFICATION ANALYSIS

      This portion of the project covers analysis of paving, grading, berms
      and other site modifications which may reduce the volume of storm water
      runoff that requires storage. Specific work items to be performed are:

                   Evaluate site for areas where:

                                 Potential chemical spills could occur

                                 Newly treated lumber could safely be stored

                                 Processing leakage could cause site contamination

                   Prepare preliminary designs and unit cost estimates for paving,
                   grading and other remedial works

      This portion of the project will result in:

                   Site modifications that could reduce the volume of storm
                   water to be stored

                   Costs of these modifications for comparison with possible
                   treatment costs

             TREATABILITY ANALYSIS

      Based on the storm water runoff and process wastewater censtituents
      identified, CH2M HILL will analyze alternative treatment processes for
      the runoff and process wastewater to meet the site discharge requirements.

      Specific work items to be performed are:

                   Laboratory and/or bench-scale pilot plant work to determine
                   design parameters

                   Preparation of preliminary equipment layouts and process
                   flow sheets




                                         DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                       DTSC029284
                                          -24-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 5 of 8




      Pac ific Wood
      Page/
      16 March 1979
      M~68.32




                   Evaluatior; of the performaP.ce of these processes over the
                   range of Ic~dings expected d~!e to .~lternative site modifications
                   identified

            ¯      Estimation of costs for achieving discharge requiram~nts

      This portion of the project will result in:

            ¯      Identificatio=~ of treatment processes required to meet allowable
                   discharge levels

            ¯      Costs of these treatment processes

      C.    SELECTION OF TECHNICAL SOLUTION

      This portion of the project involves the evaluation ot combinations of wastewater
      treatment and site modifications to develop the lowest cost method to obtain
      compliance with the waste discharge requirements.

      Specific work items include:

            ¯      Formulation of alternatives, including treatment of all wastewater
                   and selected combinations of treatment and site modifications

            ¯      Determination of the life cycle cost of each alternative based
                   on capital cost and operation and maintenance costs

             ¯     Evaluation of the reliability and ease of operation of each
                   alternative

             ¯     Recommendation of the alternative that best meets the needs
                   of Pacific Wood Preserving

      Phase III

      A.     PROJECT DESIGN

      At this time, we cannot define the work required to design the facilities.
      At the end of Phase II, a detailed scope of work for Phase III will be prepared.

      In general, we see this portion of the project covering the preparation
      of the construction plans and specifications for the facilities selected by
      Pacific Wood Preserving. Typical work items to be performed are:




                                          DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                        DTSC029285
                                           -25-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 6 of 8




      Pacific Wood
      Page 5
      16 March 1979
      M~68.32



             II    Preparation of sufficient construction drawings and sketches
                   to show project construction requirements

                   Preparation of specifications for key items of equipment and
                   construction

      This portion of the project will provide the material needed to allow a
      contractor to install the facilities designed.

      Phase IV

      At this time, we cannot define the work required during construction
      and operation of the facilities. At the end of Phase Ill, a detailed scope
      of wol’k for Phase IV will be prepared. In general, we see these services
      during Phase IV.

             CONSTRUCTION

      During the construction of the project, CH2M HILL will provide construction
      management services including inspection for compliance with plans, approval
      of shop drawings and resolution of contractor claims, if any.

       B.    START UP, OPERATION AND MONITORING

       CH2M HILL will assist Pacific Wood Preserving in start up and acceptance
       of the constructed facilities. During the initial operating period, CH2M
       HILL staff will be available, as needed, to answer questions concerning
       new or modified operation.~. We would also train your staff in the operation
       of the treatment system, if any. In addition, we would also perform routine
       monitoring sampling and analysis to verify control effectiveness.

       We recognize that 1 July is the date mandated for completion of the selected
       system. At the end of Phase II, we will be in a position to verify the project
       completion date. We will work closely with you and your staff to complete
       our work as quickly and efficiently as possible.

       At the start of work on the control system, it may be desirable to visit
       the California Pollution Control Financing Authority. This State agency
       assists in financing mandated pollution control facilities. To date, the
       Authority has financed over $150 million in projects at an average interest
       of less than 6.5 percent and for repayment periods up to 30 years~ CH2M
       HILL is familiar with the CPCFA requirements, and would assist you in
       preparing necessary applications for project financing if you wish to pursue
       that source of funds,




                                        DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                      DTSC029286
                                         -26-
Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 7 of 8




      Pacific Wood
      Page 6
      16 March 1979
      M~168.32



      CH2M HILL currently has staff available with experience in industrial
      waste projects similar to yours. We propose to work under a salary cost
      multiplier agreement, including reimbursement for direct expenses.
      We estimate that Phases I and II, as described, would cost $1q,000 to
      $16,000. This estimate and the scope of work are based on information
      we have to date and may be modified following the meeting next week.

      Attached are two copies of an Authorization t’or Services covering Phases I
      and II. One copy should be signed and returned to us prior to the 20 March
      meeting.

      Sincerely,



      William P. Henry, P.E.
      Manager, Industrial Projects

      vl

      Enclosures




                                       DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                     DTSC029287
                                        -27-
                  Case 2:14-cv-00595-WBS-JDP Document 80-2 Filed 12/15/14 Page 8 of 8




                                          MARCH            APRIL

                                                    2       16

PHASE

A.   DATA COLLECTION AND EVALUATION
                                                                                                   V---
B.      PROBLEM DEFINITION



PHASE I|

A.   S|TE MODIFICATION ANALYSIS

B.   TREATABILITY ANALYSIS

Ce   SELECTION OF CONTROL/TREATMENT
     SYSTEM



PHASE

A.   DESIGN                                                         UNDEI’*INED AT TIllS TI! IE


PHASE IV

A.   CONSTRUCTION                                                   UNDEI~INED ~T TTIIS TII~ IE

B.   OPERATION AND MONITORING                                       UNDEI qNED AT "r})IS "rll IE




                                                                 PROPOSED PROJECT SCHEDULE
                                                          PACIFIC WOOO PRESERVING CORPORATION
                                                                CONTROL OF STORM WATER
                                                              AND INDUSTRIAL WASTEWATER




                                                  -28-
